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EXHIBIT 1

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Direct Examination of Jonathan Robeson T_III_623

 

 

 

 

challenge?

A. Uh-huh, yes. Yes, ma'am.

Q. Okay. And the contract sales price that's reflected
here?

A. 73,000.

Q. And that's consistent with your notes and Ms. Blythe's
notes, correct?

A. Yes.

Q Okay. And if you would take a look at Line 515.

A. Yes. I see a Unity Mortgage net proceed of $72,071.48.
Q Okay. And that means that there is no cash to the
seller?

A. Correct. That ~- that appears to me from the settlement
statement that Unity Mortgage got all the proceeds from the
transaction.

Q. Okay. And, yet, there was no lien for Unity Mortgage?
A. Not according to the commitment you just showed me.

Q. Okay. But the transaction is done consistently with
MS. Blythe's note, proceeds to Unity Mortgage, correct?

A. I do see that notation.

Q Okay. And it would appear that it was followed, right?
A Yes.

Q. Now, did you handle this closing?

A I don't recall handling the closing. As far as the

closing itself, I almost never did the closing unless she was

 

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DireCt Examination Of JOnathan RObeSOn T-III-624
on vacation.
Q. Okay. And, if you had done the closing, who would have
signed the HUD-l?
A. She would have had to. I wasn't authorized.
Q. Oh, I'm sorry. Just explain that.
A. I wouldn't have been authorized at that point to do
settlements for -- I would have had to have gotten approved by

the title insurance company.

Q. Okay.
A. I would have had to have been a -- an approved -- an
approved closer, something along those -- I'm not sure if

that's the correct terminology, but I don't recall that ever
having been done.

Q. Okay. While you worked for Ms. Blythe?

A. Right. Yes. She would have to authorize the signature
of the settlement statement.

Q. Okay. Is it your testimony that you did handle closings?
A. l would be present at some closings, yes.

Q._ Okay. And do you remember being present at this closing?

A. No, I do not. I mean, I could have been, but I have no

Q. Okay. Do you know the Schamburgs?
A. No.
Q. Okay. I noticed in the file that their drivers' licenses

were captured. Did you see that?

 

 

